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                                           IN THE UNITED STATES DISTRICT COURT
                                              EASTERN DlSTRICT OF ARKANSAS
                                                    WESTERN DIVISION

                UNITED STATES OF AMERJCA

                        vs.                             NO.     4:13CR00197-05 BSM

           ABDUL AZIZ FARISHTA                                                                              DEFENDANT


                                      WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                         AND ENTRY OF PLEA OF NOT GUILTY
                               (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                        NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                hereby acknowledges the following:

                1)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                        information in this case. Defendant understands the nature and substance of the charges contained
                        therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                        advised of all of the above by his/her attorney.

                2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                        for anaignment in open court on this accusation. Defendant further understands that, absent the
                        present waiver, he/she will be so arraigned in open court.

                Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                the Court of said plea for defendant will conclude the arraignment in this case .for all purposes.


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                                                         ORDER OF COURT

                         The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                         plea of not guilty is entered for the defendant effective this date.

                         The defendant's request to waive appearance at tl

                          q -d?-/3
                         Date                                      Judicial Officer



                cc:     All Counsel of Record
                        U.S. Probation Office
                        U.S. Marshals Service
                        Presiding Magistrate Judge
